Case 2:22-cv-01338-EP-JSA Document 30-5 Filed 06/14/22 Page 1 of 2 PageID: 313




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Attorneys for B&G Foods, Inc.
                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEW JERSEY

PATRICIA DEAN, JOHN GALLOWAY,
and BRIAN BLASSINGAME, individually
and on behalf of all others similarly situated,       Case No.: 2:22-CV-01338-SDW-JSA

                Plaintiffs,                           [PROPOSED] ORDER GRANTING
                                                      DEFENDANT B&G FOODS, INC.’S
         v.                                           MOTION TO DISMISS PLAINTIFFS’
                                                      FIRST AMENDED CLASS ACTION
B&G FOODS, INC.,                                      COMPLAINT
                Defendant.



         THIS MATTER having been brought before the Court by Mitchell C. Stein, Esq.,

counsel for Defendant B&G Foods, Inc., on application for an Order dismissing with prejudice

all of Plaintiffs’ claims; and the Court having considered the moving papers; and for good cause

shown;

         IT IS on this ____ day of ________, 2022

         ORDERED that Defendant B&G Foods, Inc.’s Motion to Dismiss Plaintiffs’ First

Amended Class Action Complaint is GRANTED and Plaintiffs’ claims are DISMISSED with


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Case 2:22-cv-01338-EP-JSA Document 30-5 Filed 06/14/22 Page 2 of 2 PageID: 314




prejudice.

       SO ORDERED.



                                                _____________________________
                                                 Hon. Susan D. Wigenton
                                                 United States District Judge




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